2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 1 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 2 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 3 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 4 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 5 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 6 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 7 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 8 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 9 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 10 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 11 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 12 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 13 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 14 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 15 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 16 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 17 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 18 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 19 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 20 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 21 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 22 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 23 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 24 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 25 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 26 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 27 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 28 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 29 of 30
2:07-cv-03998-CWH   Date Filed 03/31/11   Entry Number 62   Page 30 of 30
